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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF MINNESOTA

United States of America,,

      Plaintiff,
v.                                                 ORDER
                                                   Crim. No. 10‐09(13) (MJD/SER)
Juan Mendez‐Rios,

      Defendant.
_____________________________________________________________________

      Chris S. Wilton, Assistant United States Attorney, Counsel for Plaintiff.

      Defendant, pro se.
_____________________________________________________________________

      This matter is before the Court on Defendant’s motion to amend/correct or

reduce his sentence pursuant to 18 U.S.C. § 3582(c) or in the alternative 28 U.S.C.

§ 2255. For the reasons that follow, the motion is denied.

I.    Background

      Defendant pleaded guilty to count one of the Superseding Indictment

which charged Conspiracy to Distribute and Possess with Intent to Distribute in

Excess of 50 Grams of Methamphetamine in violation of 21 U.S.C. §§ 841(a)(1)

and (b)(1)(B) and 846. At sentencing, the Court determined that the applicable

guideline range was 63 to 78 months, subject to a statutory mandatory minimum


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sentence of 60 months. The Court also granted Defendant’s motion for a

downward departure pursuant to U.S.S.G. § 4A1.3(b) on the basis that a criminal

history category II overstated his criminal history, which resulted in a guideline

range of 57‐71 months. The Defendant was sentenced to a term of imprisonment

of 60 months; the statutory mandatory minimum sentence. Defendant did not

appeal his sentence.

II.   Analysis

      A.     28 U.S.C. § 2255

      A petition pursuant to 28 U.S.C. § 2255 must be filed within one year of the

latest of four dates:

             (1) the date on which the judgment of conviction becomes final;

             (2) the date on which the impediment to making a motion
             created by governmental action in violation of the Constitution
             or laws of the United States is removed, if the movant was
             prevented from making a motion by such governmental action;

             (3) the date on which the right asserted was initially recognized
             by the Supreme Court, if that right has been newly recognized by
             the Supreme Court and made retroactively applicable to cases on
             collateral review; or

             (4) the date on which the facts supporting the claim or claims
             presented could have been discovered through the exercise of
             due diligence.


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28 U.S.C. § 2255(f). In his motion, Defendant does not allege any impediments

that prevented him from filing a timely petition under § 2255, nor does he allege

a right newly recognized by the Supreme Court or newly discovered evidence.

Thus, whether a motion under § 2255 is timely is governed by subsection (1).

      In this case, Defendant’s criminal judgment was entered on January 10,

2011. [Doc. No. 355] This judgment became final fourteen days after the entry of

judgment, or the date on which Defendant could no longer file a notice of appeal.

Fed. R. App. P. 4(b)(1)(A)(i) (2009); see also Anjulo‐Lopez v. United States, 541

F.3d 814, 816 n.2 (“Because [defendant] . . . did not file a direct appeal, his

conviction became final . . . when the . . . period for filing a notice of appeal

expired.”) Defendant’s judgment therefore became final on January 24, 2011. To

fall within the statute of limitations, Defendant needed to file his motion under

Section 2255 by January 24, 2012. See 28 U.S.C. § 2255(f). The instant motion was

not filed until July 16, 2012, more than six month after the expiration of the

statute of limitations.

      The Court may extend the statute of limitations when “extraordinary

circumstances” prevent a defendant from filing and the defendant has diligently



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pursued his rights. United States v. Martin, 408 F.3d 1089, 1093‐95 (8th Cir. 2005).

Here, Defendant has not alleged such circumstances or demonstrated that he has

diligently pursued the filing of a Section 2255 motion. Accordingly, Defendant’s

request for relief pursuant § 2255 is time‐barred and must be dismissed.

      B.    18 U.S.C. § 3582(c)

      Pursuant to 18 U.S.C. § 3582(c):

      The court may modify a term of imprisonment once it has been imposed,
      except that –
            ***
            (2) in the case of a defendant who has been sentenced to a term of
            imprisonment based on a sentencing range that has subsequently
            been lowered by the Sentencing Commission pursuant to 28 U.S.C.
            994(o), upon motion of the defendant or the Director of the Bureau of
            Prisons, or on its own motion, the court may reduce the term of
            imprisonment, after considering the factors set forth in section
            3553(a) to the extent that they are applicable, if such a reduction is
            consistent with applicable policy statements issued by the
            Sentencing Commission.

      In his motion, the Defendant does not identify any amendment to the

United States Sentencing Guidelines that would lower his applicable guideline

range. Nonetheless, even if such an amendment existed, the Defendant was

sentenced to the statutory mandatory minimum sentence. Absent a motion by

the government under 18 U.S.C. § 3553(e), allowing the Court to sentence below



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the statutory mandatory minimum sentence, the Defendant can not

demonstrated that he is entitled to relief under § 3582(c). See, e.g., United States

v. Peters, 524 F.3d 905, 907 (8th Cir. 2008).

        Based on the above, the Court finds no basis upon which to grant

Defendant the relief he seeks.

        IT IS HEREBY ORDERED that Defendant’s Motion to Amend/Correct or

Reduce Sentence [Doc. No. 435] is DENIED. The Government’s Motion to

Dismiss [Doc. No. 437] is GRANTED.

Date:    September 6, 2012




                                 s/ Michael J. Davis
                                 Michael J. Davis
                                 Chief Judge
                                 United States District Court




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